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 9 Attorneys for Plaintiff MICHAEL BISCH

10
                                UNITED STATES DISTRICT COURT
11
                              EASTERN DISTRICT OF CALIFORNIA
12

13 MICHAEL BISCH, an individual,                        Case No.: 2:23-cv-00455-MCE-DB
14                              Plaintiff,              PLAINTIFF’S NOTICE OF ERRATA
15                                                      TO THIRD JOINT STATUS REPORT
     vs.
16
     COUNTY OF YOLO, CALIFORNIA, a public
17 corporation; CITY OF WEST SACRAMENTO, a
     public corporation; CITY OF DAVIS, a public
18
     corporation; CITY OF WOODLAND, a public
19   corporation; ANGEL BARAJAS, an individual;
     OSCAR VILLEGAS, an individual; CHAD
20   RINDE, an individual; AARON LAUREL, an
     individual; KEN HIATT, an individual;
21   MICHAEL WEBB, an individual; DONALD
     SAYLOR, an individual; and DOES 1 through 50,
22
     inclusive,
23
                                          Defendants.
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                                            NOTICE OF ERRATA
                                       CASE NO. 2:23-CV-00455-MCE-DB
       Case 2:23-cv-00455-MCE-DB Document 26 Filed 01/21/24 Page 2 of 2


 1                                        NOTICE OF ERRATA

 2         In connection with the Third Joint Status Report filed on January 19, 2024 (ECF Dkt. No.

 3 25), Plaintiff Michael Bisch hereby notes the following error:

 4         At page 4:3-7 (¶ 10), the phrase which states “discovery motion order was not likely void or

 5 voidable” should read “discovery motion order was likely void of voidable.” The word “not” was

 6 a typo. The intended meaning and need for this typographical error is evidenced by the overall context

 7 and content of Plaintiff’s section of the report and the statements of the Ex Parte Brief (see Exhibit 2

 8 to the Joint Status Report (Ex Parte MPA) at 3:9-22.) on the relevant issues.

 9         Plaintiff apologizes to the Court for any confusion or inconvenience due to this error.

10

11 Dated: January 21, 2024                       Respectfully Submitted,

12                                               SANJIV N. SINGH, A PROFESSIONAL LAW
                                                 CORPORATION
13
                                                 By:/s/ Sanjiv N. Singh
14                                                  Sanjiv N. Singh
                                                 Attorneys for Plaintiff Michael Bisch
15

16
                                                 INDRAJANA LAW GROUP, A PROFESSIONAL
17                                               CORPORATION

18
                                                 By: /s/ Michael B. Indrajana
19                                                   Michael B. Indrajana
                                                 Attorneys for Plaintiff Michael Bisch
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                                             NOTICE OF ERRATA
                                           NO. 2:23-CV-00455-MCE-DB
